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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF PUERTO RICO



UNITED STATES OF AMERICA,
Plaintiff, v.

[1] ANGEL ROMERO-SANTANA,                                   Criminal No. 21-171 (PAD)
[2] EUFEMIO ESPINAL,

Defendants.




                                 MOTION TO UNSEAL CASE

 TO THE HONORABLE COURT:

        COMES NOW, the United States of America, through the undersigned attorney, and to

 this Honorable Court very respectfully states and prays as follows:

        1.      This case has been partially sealed because one of the defendants had not been

 arrested.

        2.      At this time, the case can be unsealed since all of the defendants have now been

 arrested.

        WHEREFORE, the United States respectfully requests that this case be unsealed.

        RESPECTFULLY SUBMITTED.

        In San Juan, Puerto Rico, this July 3, 2025.


                                                       W. STEPHEN MULDROW
                                                       UNITED STATES ATTORNEY

                                                       /s/ Antonio L. Perez-Alonso
                                                       Antonio L. Perez-Alonso – G02902
                                                       Assistant United States Attorney
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                                                    350 Carlos Chardón Ave.
                                                    San Juan, Puerto Rico 00918
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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that the foregoing document was uploaded today, July 3, 2025,

into the Court's website using the CM/ECF system, and a true and correct copy will be served upon

counsel of record through this system.



                                                    /s/ Antonio L. Perez-Alonso
                                                    Antonio L. Perez-Alonso – G02902
                                                    Assistant United States Attorney




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